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  7
  8                         UNITED STATES DISTRICT COURT

  9                       CENTRAL DISTRICT OF CALIFORNIA

 10                                           Case No. 2:20-cv-07426-PSG-E
      ADERIYIKE LAWAL, an individual.
 11
                                              PLAINTIFF’S NOTICE OF MOTION
 12                                           AND MOTION TO REMAND
                   Plaintiff,
 13                                           ACTION TO THE SUPERIOR
                                              COURT OF CALIFORNIA FOR THE
 14         v.                                COUNTY OF LOS ANGELES;
                                              MEMORANDUM OF POINTS AND
 15
                                              AUTHORITIES IN SUPPORT
 16   PATAGONIA GLOBAL, LLC, a                THEREOF
      California Limited Liability Company,
 17   and DOES 1-10, inclusive.               [Concurrently filed with the supporting
 18                                           Declaration of Azar Mouzari and
                                              [Proposed] Order]
 19                 Defendants.
 20                                           Date: November 16, 2020
                                              Time: 1:30 p.m.
 21                                           Judge: Hon. Judge Philip S. Gutierrez
 22                                           Courtroom: 6A

 23                                           Complaint Filed: June 3, 2020
 24
                                              Removal Date: August 17, 2020

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  1
                                          NOTICE OF MOTION
  2
             TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  3
      PLEASE TAKE NOTICE that on November 16, 2020, at 1:30 p.m., in the First Street
  4
      Courthouse, 350 West 1st Street, Courtroom 6A, 6th Floor, Los Angeles, California
  5
      90012, before the Honorable Judge Philip S. Gutierrez, United States District Judge,
  6
      Plaintiff Aderiyike Lawal (“Plaintiff”) will and hereby does move to remand this action
  7
      to the Superior Court of California for the County of Los Angeles, Central District.
  8
             Plaintiff moves to remand this action on the grounds that this Court may not
  9
      exercise subject-matter jurisdiction over this matter because, as a matter of law, “there is
 10
      no federal-question jurisdiction over a lawsuit for damages brought under [a California
 11
      statute], even though the California statute makes a violation of the federal Americans
 12
      with Disabilities Act a violation of state law.” Wander v. Kaus, 304 F.3d 856, 857 (9th
 13
 14
      Cir. 2002).

 15          This Motion is made pursuant to 28 U.S.C. § 1447(c) and based upon this Notice

 16   of Motion and Motion, the accompanying Memorandum of Points and Authorities, the

 17   concurrently filed supporting Declaration of Azar Mouzari (“Mouzari Declaration”), the

 18   pleadings and papers on file in this action, and on such further evidence and argument as
 19   may be presented at the time of hearing. This Motion is brought following the
 20   conference of counsel pursuant to Local Rule 7-3, which took place on September 4,
 21   2020, between counsel for Plaintiff and Defendant. Mouzari Declaration at ¶ 2.
 22
      Dated: September 15, 2020                  BEVERLY HILLS TRIAL ATTORNEYS, P.C.
 23
 24                                               /s/ Azar Mouzari
                                                 Azar Mouzari, Esq.
 25                                              Attorney for Plaintiff
 26                                              ADERIYIKE LAWAL

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  1
         I. MEMORANDUM OF POINTS AND AUTHORITIES
  2
                A. OVERVIEW
  3
             This is a quintessential case warranting remand. It is undisputed that Defendant
  4   sought removal on the sole ground of federal question jurisdiction. Defendant allocates,
  5   in its Notice of Removal, a mere two paragraphs to argue, without any jurisprudential
  6   support, that “pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1443, in that it appears
  7   from the Complaint that Plaintiff has filed a civil rights action, and her claims are
  8   founded on a claim or right arising under the laws of the United States.” Notice of
      Removal, ¶ 3, at 1 (Docket Entry 1). Specifically, Defendant claims that “it appears
  9
      from the Complaint that this is a civil rights action alleging violations of the Americans
 10
      with Disabilities Act, 42 U.S.C. §12182 et seq.” Id. at ¶ 4, at 1 (Docket Entry 1). Even
 11
      setting aside the lack of jurisprudential analysis and support for Defendant’s argument,
 12
      the most elementary bases of Defendant’s argument remain wholly unfounded. Indeed,
 13   Defendant conveniently ignores the fact that Plaintiff has not plead any federal causes of
 14   action. Rather, Plaintiff alleged one cause of action based on California law, specifically
 15   the violation of California’s Unruh Civil Rights Act (“Unruh Act”). While it is true, as
 16   Plaintiff admits in her Complaint, that a violation of the Americans with Disabilities Act
 17   of 1990 (“ADA”) is necessarily a violation of the Unruh Act. Cal. Civ. Code, § 51(f), the

 18   “mere presence of a federal issue in a state cause of action does not automatically confer
      federal question jurisdiction.” Merrell Dow Pharms. Inc. v. Thompson, 478 U.S. 804,
 19
      808. Removal remains improper given that, at best, any federal issue raised in the
 20
      Complaint is merely collateral to Plaintiff’s state law claim under the Unruh Act.
 21
      Hunter v. Philip Morris USA, 582 F.3d 1039, 1042 (9th Cir. 2009).
 22
                B. FACTUAL BACKGROUND
 23
             On June 3, 2020, Plaintiff filed this action in the Superior Court of California, for
 24
      the County of Los Angeles, Central District, asserting in her Complaint a single cause of
 25   action against Defendant for its violation of California’s Unruh Act. Mouzari
 26   Declaration at ¶ 3. In the Complaint, Plaintiff sought statutory damages and injunctive
 27   relief pursuant to the Unruh Act, expressly excluding any other cause of action or relief
 28   pursuant to the ADA. Plaintiff also limited the damages she sought in the Complaint to

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  1   a total of $34,999.00 in statutory damages and $15,000.00 in costs for complying with
  2   injunctive relief. Id. at ¶ 4; Complaint (Docket Entry 1-1). Further, while Plaintiff
  3   acknowledged in the Complaint that Defendant’s violation of the ADA based on the
  4   same offending behavior was likewise a violation of the Unruh Act. Cal. Civ. Code §
  5   51(f) (“A violation of the right of any individual under the federal Americans with

  6
      Disabilities Act of 1990 (P.L. 101-336) shall also constitute a violation of this section”),
      she limited her cause of action and the relief sought to violation of the Unruh Act. Id.
  7
      On August 17, 2020, Defendant filed a Notice of Removal based on diversity and federal
  8
      question jurisdiction. Notice of Removal (Docket Entry 1).
  9
                C. ARGUMENT
 10
                           a. Legal Standard
 11
             As a matter of threshold, federal question jurisdiction exists only where federal
 12   law creates the cause of action asserted, where under the artful pleading doctrine one or
 13   more state law claims should be re-characterized as federal claims, or where state law
 14   claims necessarily turn on the construction of a substantial, disputed federal question.
 15   Rains v. Criterion Sys., Inc., 80 F.3d 339, 343 (9th Cir. 1996) (citing Merrell Dow
 16   Pharms. v. Thompson, 478 U.S. 804, 807-10 (1968)). However, the “mere presence of a
 17   federal issue in a state cause of action does not automatically confer federal-question
      jurisdiction.” Wander v. Kaus, 304 F.3d 856, 858 (9th Cir. 2002) (citing Merrell Dow,
 18
      478 U.S. at 808). The federal issue must be a “necessary element” of one of the state law
 19
      claims. Id. The federal issue must also be “actually disputed and substantial.”
 20
      Grable & Sons Metal Prods., Inc. v. Darue Eng'g & Mfg, 545 U.S. 308, 314 (2005).
 21
             Generally, the plaintiff “decide[s] what law he will rely upon . . . and, if he can
 22   maintain his claim on both state and federal grounds, he may ignore the federal question
 23   and assert only a state law claim and defeat removal.” Sullivan v. First Affiliated Sec.,
 24   Inc., 813 F.2d 1368, 1373 (9th Cir. 1987) (internal quotation marks and citations
 25   omitted). The “burden of establishing jurisdiction falls on the party invoking the removal
 26   statute . . . which is strictly construed against removal.” Id. at 1371 (citing Hunter v.

 27   United Van Lines, 746 F.2d 635, 639 (9th Cir. 1984), cert. denied, 474 U.S. 863 (1985)

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  1   (citation omitted)). Finally, courts resolve all ambiguities in favor of remand to state
  2   court. Hunter v. Philip Morris USA, 582 F.3d 1039, 1042 (9th Cir. 2009).
  3                        b. This Action Is Not Properly Removable Under 28 U.S.C. § 1331
  4          In its Notice of Removal, Defendant appears to summarily contend that Plaintiff’s
  5   cause of action consists of a civil rights action that arises under the ADA, and that the

  6   instant action thus is removable. Notice of Removal, ¶¶ 3-4, at 1 (Docket Entry 1).
      Defendant does not cite any jurisprudential support for this argument. Nor does it
  7
      directly dispute that Plaintiff did not plead any federal causes of action. Where, as here, a
  8
      plaintiff advances a state law claim that may be based on a federal claim, removal
  9
      remains “improper where a federal issue raised in a plaintiff’s complaint is merely
 10
      collateral to a state law claim.” Jackson v. Yoshinoya America Inc., No. CV 12-08518
 11   MMM EX, 2013 WL 865596, at *2 (C.D. Cal. Mar. 7, 2013) (citing 4A Charles A.
 12   Wright, Arthur R. Miller et al., Federal Practice and Procedure, § 3722 (4th ed. 2012)).
 13   While Plaintiff’s California Unruh claim incorporates the ADA as an element of the state
 14   law cause of action, this alone “does not confer federal jurisdiction to hear the state
 15   claims.” Yoshinoya America Inc., supra, 2013 WL 865596, at *2; Pickern v. Best

 16   Western Tiber Cove Lodge Marina Resort, 194 F.Supp.2d 1128, 1131 (E.D. Cal. 2002)
      (“The fact that an ADA violation may serve as an element of a state law claim does not
 17
      automatically confer federal question jurisdiction”). The federal question must be a
 18
      necessary element of the state law claim before federal jurisdiction exists. Merrell Dow
 19
      Pharmaceuticals Inc. v. Thompson, 478 U.S. 804, 812 (1986); Franchise Tax Board v.
 20
      Construction Laborers Vacation Trust, 463 U.S. 1, 13 (1983) (“some substantial,
 21   disputed question of federal law [must be] a necessary element of one of the well-pleaded
 22   state claims”).
 23          Defendant fails to establish, as it must, the presence of federal questions that are
 24   necessary elements of Plaintiff’s state court cause of action. Thus, as a matter of law,
 25   Plaintiff’s state law cause of action claim does not “arise under federal law” even though

 26
      it is premised on a violation of federal law. Wander v. Kaus, 304 F.3d 856, 857 (9th Cir.
      2002) (“there is no federal-question jurisdiction over a lawsuit for damages brought under
 27
      [a California statute], even though the California statute makes a violation of the federal
 28

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  1   Americans with Disabilities Act a violation of state law. Congress intended that there be
  2   no federal cause of action for damages for a violation of Title III of the ADA. To exercise
  3   federal-question jurisdiction in these circumstances would circumvent the intent of
  4   Congress. Federal-question jurisdiction is not created merely because a violation of
  5   federal law is an element of a state law claim.”); see also Kohler v. Southland Foods,

  6
      Inc., 459 Fed. Appx. 617, 618-19 (9th Cir. 2011) (“[Defendant] argues that state-law
      claim ‘arises under’ federal law because the Unruh Civil Rights Act incorporates an ADA
  7
      violation as an element. We have rejected this position.”); see also Martinez v. Del Taco,
  8
      Inc., 252 Fed. Appx. 148, 149 (9th Cir. 2007); Love v. Ayoub, No. EDCV 15-1778-VAP
  9
      (KKx), 2016 WL 3671089, at *4 (C.D. Cal. June 30, 2016).
 10
             Given the jurisprudential backdrop, this Court should summarily reject
 11   Defendant’s baseless argument, spread out in a mere two paragraphs, that Plaintiff’s
 12   claims meet the federal question requirement. Notice of Removal, ¶¶ 3-4, at 8 (Docket
 13   Entry 1).
 14               D. CONCLUSION
 15          Defendant has failed to provide any basis, much less a sufficient one, to establish
      federal question jurisdiction. Plaintiff’s cause of action is for violation of the Unruh Act.
 16
      Plaintiff’s case, thus, belongs in the Superior Court, not in this Court. Accordingly, this
 17
      Court should grant this Motion and remand this action to the Superior Court for Los
 18
      Angeles County.
 19
 20
      Dated: September 15, 2020                  BEVERLY HILLS TRIAL ATTORNEYS, P.C.
 21
                                                  /s/ Azar Mouzari
 22
                                                 Azar Mouzari, Esq.
 23                                              Attorney for Plaintiff
                                                 ADERIYIKE LAWAL
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  1                                CERTIFICATE OF SERVICE
  2
             I hereby certify that I electronically filed the foregoing with the Clerk of the
  3
      United States District Court Central District of California by using the CM/ECF system
  4
      on September 15, 2020.
  5
             I further certify that all participants in the case appear to have been registered
  6
      CM/ECF users and that service should therefore be accomplished by the CM/ECF system
  7
      via electronically mail to all counsel of record.
  8
             I declare under penalty of perjury under the laws of the State of California that the
  9
      foregoing is true and correct.
 10
 11          Executed on September 15, 2020 in Los Angeles, California.
 12
 13                                                             /s/ Azar Mouzari
 14                                                             Azar Mouzari
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